Case 2:05-cr-2020l-.]DB Document 21 Filed 06/23/05 Page 1 of 2 Page|D 29

  

Fll.ED £3"¥ ._._~_. D.C.
|N THE UN|TED STATES D|STHlCT COURT

FOFi THE WESTEF{N DISTR|CT OF TENNESSEE 05 JUN 23 Mq i|. 5b
WESTERN D|V|S|ON

BOBERT Ft, DE 'i'ROL|O
uNrTED sTATEs OF AMERICA, ' ' ’ '

P|aintiff,
VS. CF{. NO. 05-20201-B
JOHN FOF{D,

Defendant.

 

ORDEH ON CONT|NUANCE AND SPEC|FY|NG PEFI|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 22, 2005. At that time counsel for
the defendant requested a continuance of the duly 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Thursda Ju| 21. 2005. at 8:45 a.m., in Courtroom 1, 1 ith Fioor of the

 

Federa| Bui|ding, Nlemphis, TN.
The period from June 22, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need a speedy tria|.
lT ls so ol=iDEr=iEo this Z day of June, 2005.

[

.DA lEL BREEN \
Nl o sTATEs DlsTl=zlcT JuDGE

 

This document entered on the docket sheet |n mpliance

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UNITED sTATE D"ISIC COURT - WESTER D's'TRCT 0 TESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20201 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

